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                                                                                     INTERPRETER
                               U.S. District Court
                    Eastern District of Virginia − (Richmond)
             CRIMINAL DOCKET FOR CASE #: 3:25−mj−00054−MRC−1

 Case title: USA v. Argueta−Diaz                           Date Filed: 05/19/2025

 Assigned to: Magistrate Judge Mark R.
 Colombell

 Defendant (1)
 Luis Alonso Argueta−Diaz                    represented by Mark Damian Duda
                                                            Office of the Federal Public Defender
                                                            701 E. Broad St.
                                                            Suite 3600
                                                            Richmond, VA 23219
                                                            804−565−0835
                                                            Email: mark_duda@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender

 Pending Counts                                             Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                          Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                 Disposition
 None



 Plaintiff
 USA                                         represented by Ellen H. Theisen
                                                            DOJ−USAO
                                                            Criminal
                                                            919 East Main Street

                                                                                            USCA4 1
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                                                                  Suite 1900
                                                                  Richmond, VA 23219
                                                                  804−816−1292
                                                                  Email: ellen.hubbard@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: US Attorney

  Date Filed   #   Docket Text
  05/19/2025       Arrest of Luis Alonso Argueta−Diaz in Eastern District of Virginia − Richmond
                   Division. (jsau, ) (Entered: 05/20/2025)
  05/19/2025   1   Arrest Warrant Returned Executed on 5/19/25 in case as to Luis Alonso Argueta−Diaz.
                   (Attachments: # 1 Complaint from the District of New Mexico)(jsau, ) (Entered:
                   05/20/2025)
  05/19/2025   2   Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell
                   (Patricia Michelsen−King Interpreting): Initial Appearance in Rule 5(c)(3) Proceedings
                   as to Luis Alonso Argueta−Diaz held on 5/19/2025; Matter came on for initial
                   appearance on a warrant issued out of the District of New Mexico; Govt moved to
                   unseal case − Granted; Deft advised of charges and rights; Deft submitted financial
                   affidavit and requested court appointed counsel − Granted; FPD Mark Duda present
                   and appointed for all Richmond hearings; Govt seeking detention − GRANTED; Deft
                   requested Rule 5 hearings to be held in this district; Identity, Preliminary and Detention
                   Hearings set for 5/21/2025 at 03:30 PM in Richmond Courtroom 5300 before
                   Magistrate Judge Mark R. Colombell; Deft remanded.(FTR.)(jsau, ) (Entered:
                   05/20/2025)
  05/19/2025   3   CJA 23 Financial Affidavit by Luis Alonso Argueta−Diaz (jsau, ) (Entered:
                   05/20/2025)
  05/19/2025       ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Luis Alonso
                   Argueta−Diaz. Mark Damian Duda appointed. (jsau, ) (Entered: 05/20/2025)
  05/19/2025   4   Temporary Detention Order as to Luis Alonso Argueta−Diaz. Signed by Magistrate
                   Judge Mark R. Colombell on 5/19/25. (jsau, ) (Entered: 05/20/2025)
  05/21/2025   5   Pretrial Services Bond REPORT (Initial Pretrial Services Bond Report) (SEALED −
                   government and defense counsel) as to Luis Alonso Argueta−Diaz. (McDaniel,
                   Katelyn) (Entered: 05/21/2025)
  05/21/2025       Interpreter Information: Emilia Trejo with Court Interpreting Services is the
                   Interpreter. Spanish is the type of language required. Appointment is set for May 21,
                   2025 @ 3:30 PM for a Detention Hearing before Judge Colombell. (Lgar, ) (Entered:
                   05/21/2025)
  05/21/2025   6   Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell (Emilia
                   Trejo Interpreting): Matter came on for an Identity hearing, Preliminary hearing, and
                   Detention hearing on 5/21/25; Deft submitted Rule 5 waiver as to identity hearing and
                   to a preliminary hearing in this district; Court reminded counsel of prosecutorial
                   obligations as required under Rule 5(f); Deft requests preliminary hearing in charging
                   district; Govt adduced evidence by proffer on detention; Deft adduced evidence;
                   Arguments heard; Findings stated from the bench; Deft to be released on bond with
                   conditions; Govt oral motion to STAY release order for 48 hours pending an appeal to

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                    a district judge in the District of New Mexico − GRANTED; Order Setting Conditions
                    of Release is STAYED for 48 hours pending an appeal in the District of New Mexico;
                    Deft remanded. (FTR.)(jsau, ) Modified on 5/22/2025 (jsau, ). (Entered: 05/22/2025)
  05/21/2025    7   WAIVER of Rule 5 Hearings by Luis Alonso Argueta−Diaz. (jsau, ) (Entered:
                    05/22/2025)
  05/21/2025    8   UNEXECUTED ORDER Setting Conditions of Release. Order STAYED for 48 hours
                    pending an appeal in the District of New Mexico. (jsau, ) (Entered: 05/22/2025)
  05/22/2025    9   ORDER as to Luis Alonso Argueta−Diaz. For the reasons stated herein, the Order
                    Setting Conditions of Release (ECF No. 8 ) is hereby STAYED for a period of
                    forty−eight (48) hours to allow the government to file an appeal of this Court's decision
                    in the District of New Mexico. Defendant shall remain in custody of the United States
                    Marshals pending the determination of the appeal, if filed, by the District of New
                    Mexico. If no appeal is filed within the forty−eight hours, Defendant shall be released
                    on the conditions outlined in Order Setting Conditions of Release (ECF No. 8 ). Signed
                    by Magistrate Judge Mark R. Colombell on 5/22/25. (jsau, ) (Entered: 05/22/2025)
  05/22/2025   10   DUE PROCESS PROTECTIONS ACT ORDER as to Luis Alonso Argueta−Diaz.
                    Signed by Magistrate Judge Mark R. Colombell on 5/21/25. (jsau, ) (Entered:
                    05/22/2025)
  05/22/2025   11   UNITED STATES MOTION TO REVOKE RELEASE ORDER filed in the District of
                    New Mexico on 5/22/25. (jsau, ) (Entered: 05/23/2025)




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 MIME−Version:1.0
 From:cmecf@vaed.uscourts.gov
 To:Courtmail@localhost.localdomain
 Bcc:
 −−Case Participants: Ellen H. Theisen (ellen.hubbard@usdoj.gov, heidi.brandon@usdoj.gov,
 marlee.hoskin@usdoj.gov), Magistrate Judge Mark R. Colombell
 (jessica_saunders@vaed.uscourts.gov, mara_shingleton@vaed.uscourts.gov,
 mark_colombell@vaed.uscourts.gov, mary_fritz@vaed.uscourts.gov,
 mrc_chambers@vaed.uscourts.gov, sean_tenaglia@vaed.uscourts.gov)
 −−Non Case Participants:
 −−No Notice Sent:

 Message−Id:12547311@vaed.uscourts.gov
 Subject:Activity in Case 3:25−mj−00054−MRCVAED USA v. Argueta−Diaz Arrest − Rule 5
 Content−Type: text/html

                                           U.S. District Court

                                      Eastern District of Virginia −

 Notice of Electronic Filing


 The following transaction was entered on 5/20/2025 at 8:31 AM EDT and filed on 5/19/2025

 Case Name:       USA v. Argueta−Diaz
 Case Number:     3:25−mj−00054−MRC
 Filer:
 Document Number: No document attached
 Docket Text:
  Arrest of Luis Alonso Argueta−Diaz in Eastern District of Virginia − Richmond Division.
 (jsau, )


 3:25−mj−00054−MRC−1 Notice has been electronically mailed to:

 Ellen H. Theisen &nbsp &nbsp ellen.hubbard@usdoj.gov, Heidi.brandon@usdoj.gov,
 marlee.hoskin@usdoj.gov

 3:25−mj−00054−MRC−1 Notice has been delivered by other means to:




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         Case3:25-mj-00054-MRC
              3:25-mj-00054-MRC Document
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AO 442 (Rev. M/ll) Arrest Warrant



                                         United States District Court
                                                                      for the

                                                              District of New Mexico


                      United States of America


                                                                                                                4-15
                                 V.                                     )
                  Luis Alonso ARGUETA-DIAZ                                       Case No.
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                             Defendant


                                                          ARREST WARRANT

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to he arrested)        Luis Alonso ARGUETA-DIAZ
who is accused of an offense or violation based on the following document filed with the court:


O Indictment               □ Superseding Indictment            □ Information        □ Superseding Information              8^Complaint
□ Probation Violation Petition                  □ Supervised Release Violation Petition         □ Violation Notice         O Order of the Court


This offense is briefly described as follows:
  Title 8 United States Code 1324(a)(1)(A)(v)(l), (a)(1)(A)(ii), and {a)(1)(B)(i) - did knowingly, intentionally, and unlawfully,
  conspire, combine, confederate, and agree with other persons knowng and unknown, to commit offenses against the
  United States, namely; to transport, move, and attempt to transport and move such alien within the United States by
  means of transportation and otherwise.




Dale:           05/08/2025
                                                                                            9^ %
                                                                                            ~   hsuing ofifcer's signature

City and stale;          Las Cruces, New Mexico                                     Gregory B. Wormuth, U.S. Magistrate Judge
                                                                                                  Printed name and title



                                                                      Return
                                                                  t

          This warrant was received on (date)             05b? n..i         , and the person was arrested on (date)
at (city and state)                 ,o r \ do



Date:           'S/M                                                                            ^rrt^ingq^er'TSignatin’^
                                                                                                                             5


                                                                                                  Printed name and title




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                                                                                                       FILEB
                                                                                         UNITED STATES DISTRICT COURT
AO 91 (Rev. 1li I l) Criminal Complaint                                                     LAS CRUCES, NEW MEXICO

                                          UNtrBn Srarps DIsrruCT CouRT MAY - 8 202
                                                               for the
                                                      District of New Mexico                 MITCHELL R. Er
                                                                                                   CLERK OF CO
                  United States of America
                              v.

                Luis Alonso ARGUETA-DIAZ
                                                                         caseNo
                                                                                    }bMJ 141 5
                            Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 4,2025                in the county of              Dona   Ana                     in the
                        District of          New   Mexico     , the defendant(s) violated:

             Code Section                                                   Offense Description
Title 8 United States Code 1324(a)             Conspiracy to Transport an lllegalAlien
(1 XAXvXI), (aX1 )(AXii), and (a)(1 )
(BXi)




          This criminal complaint is based on these facts:
See Affidavit, attached and incorporated herein, by reference.




          d Continued on the attached sheet.
                                                                                                         Digitally dgned by BEATRIZ

                                                                                     BEATR lZ TELL Hl;ix.r.os.o7,, 3s:44
                                                                                                         {6t0,
                                                                                             Complainant's signature

                                                                                     Beatriz Telles, HSI SpecialAgent
                                                                                             Printed name and title

Swom to before me telephoniatll$


Date:             051o8t2025
                                                                                                Judge's signature


City and state:                    Las Cruces, New Mexico                      Gregory B. Wormuth, U.S. Magistrate Judge
                                                                                             Pinted name and title




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                                           AFFIDAVIT


                        United States v. Luis Alonso ARGUETA-DIAZ


    On May 03,2025, United States Border Patrol (USBP) Agents encountered a l7-year-old
    unaccompanied minor, citizen of Honduras (minor), at approximately 12:08 a.m., near
    Santa Teresa, New Mexico. The apprehending agents then determined that the minor had
    unlawfully entered the United States from Mexico at a time and place other than as
    designated by the Secretary of Homeland Security. On May 04,2025, Homeland
    Security Investigations (HSI) Special Agent (SA) Telles received information from
    USBP regarding the apprehension of the minor. SA Telles interviewed the minor at a
    Central Processing Station in El Paso, Texas.

    The minor stated that she was headed to Virginia to live with her boyfriend, the
    defendant, Luis ARGUETA-DIAZ, who is 35 years old. The minor further stated that she
    met her boyfriend, ARGUETA-DIAZ, through her mother, and that she had been dating
    ARGUETA-DIAZ for approximately one year.

    The minor further stated that her mother was aware that she was headed to the United
    States to live with ARGUETA-DIAZ, and that ARGUETA-DIAZ arranged for her trip
    from Honduras to the United States. The total amount ARGUETA-DIAZ was going to
    pay was $20,000 USD, however, ARGUETA-DIAZ has only paid $3,500 USD. The
    remainder of the amount was to be paid once the minor reached her destination in the
    United States. The minor stated that ARGUETA-DIAZ lives in Virginia, and that he has
    been living in the United States for 19 years.

    SA Telles spoke with ARGUETA-DIAZ on the phone, and ARGUETA-DIAZ stated that
    he was aware that the minor was en route to Virginia to live with him. ARGUETA-DIAZ
    stated he wanted to help the minor be in a safe place, and that he wanted the minor to
    help him take care of his three children.

    ARGUETA-DIAZ further stated that he sent $2,000 USD to the minor's mother in
    Honduras for the purpose of smuggling the minor into the United States. ARGUETA-
    DIAZ further stated that the full payment would be made once the minor arrived in
    Virginia.

    SA Telles also spoke with the minor's mother who stated she received $2,000 dollars
    from ARGUETA-DIAZ to arrange for the minor to be smuggled into the United States.

    HSI Richmond interviewed ARGUETA-DIAZ on May 05,2025. ARGUETA-DIAZ was
    advised of his Miranda rights, in Spanish, and agreed to speak with Agents. ARGUETA-
    DIAZ stated that the minor's mother told ARGUETA-DIAZ that she needed his
    assistance getting the minor out of the country.




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    ARGUETA-DIAZ stated that he sent $2,000 USD to his mother, in Honduras, so she
    could give that money to the minor's mother. This was to assist with the smuggling fee
    for the minor to be smuggled into the United States, where she would live with him, and
    help him care for his children.

    ARGUETA-DIAZ stated that he was going to receive a call from the smuggler once the
    minor entered the United States, to coordinate her transportation to Virginia.

    AUSA Mark Saltman reviewed and approved this complaint.



                                                Respectfully submitted,


                                                   BEArRrz 3t'X+ffiflilll
                                                   TELLES      [tffi025
                                                                          05'07 t1:50:-a


                                                Beatrrz Telles, Special Agent
                                                Homeland Security Investigations




    Electronically submitted and ggf ephonically
    sworn before me on Mav V              .2025.




            B. Wormuth
    Chief United States Magistrate Judge




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 CRIMINAL PROCEEDINGS            —    U.S. DISTRICT COURT, EASTERN DISTRICT OF VA, RICHMOND DIVISION

 JUDGE: COLOMBELL                                                                DOCKET NO.

 REPORTER:       FTR                                                             DATE: Sll^US^
         UNITED STATES OF AMERICA                                                           COUNSEL
                            V.



  1.   Lu.'* ^    fV\t;>n^o          ibc%LiJbx=iI^ct'2.              1.                                                      i2)
       Deft appeared via VTC (       ) ZObM (    )
 APPEARANCES:               GOVERNMENT                            "TVuLiVcfO                                                     (>)
                            DEFENDANT WITH COUNSEL ( >a)            DEFENDANT WITHOUT COUNSEL (                     )
                            DEFENDANT NOT PRESENT (    )            WAIVER OF APPEARANCE FILED (                     )
                            INTERPRETER         PflL-VrYc;a                             )

 BAIL STATUS:               DEFENDANT ON BOND (           ) DEFENDANT ON SUPERVISED RELEASE (                   )
                            DEFENDANT INCARCERATED (N^) BOND NOT SET (                       )

 TYPE OF                    INITIAL H ) ARRAIGNMENT ( ) REARRAIGNMENT/GUILTY PLEA (                         )
 PROCEEDINGS:               PRELIMINARY ( ) DETENTION ( ) MOTIONS ( ) OTHER:                                                      (    )
                            INITIAL ON SUPERVISED RELEASE/PROBATION VIOLATION (                       )

 PRELIMINARY                WAIVER OF INDICTMENT EXECUTED, FILED (                  )
 PROCEEDINGS:               CRIMINAL INFORMATION FILED (   )
                            OTHER(   )

 INITIAL HEARING                      DATE OF ARREST: S                       GOVT’S MOTION TO UNSEAL (7^ jSmrvhLxl
 PROCEEDINGS:                         GOVT SUMMARIZED CHARGES ( ^) DEFT ADVISED OF RULE 5 RIGHTS (V)
                                      FINANCIAL AFFIDAVIT (>j ) COUNSEL TO BE APPOINTED (>6 )
                                      DEFT TO RETAIN COUNSEL (            )
                                      GOVT’S MOTION TO DETAIN DEFT               ) ORDER OF TEMPORARY DETENTION (^^7 unCW
                                      DEFT REMANDED (-70) DETENTION HEARING SET:                                                 U.^.C
 PRELIMINARY HEARING                  GOVT ADDUCED EVIDENCE (   )  DEFT ADDUCED EVIDENCE ( )                                                   A
  PROCEEDINGS:                        ARGUMENTS HEARD ( ) FINDINGS STATED FROM BENCH ( )
                                      DEFT WAIVED HEARING ( ) PROBABLE CAUSE FOUND ( )
                                      MOTION FOR CONTINUANCE ( ) GOVT( ) DEFT( ) DEFT REMANDED (                                           )
                                      WITNESS(ES)                                                                            ^




  DETENTION HEARING                   GOVT ADDUCED EVIDENCE (   )   DEFT ADDUCED EVIDENCE ( )
  PROCEEDINGS:                        ARGUMENTS HEARD ( ) FINDINGS STATED FROM BENCH ( )
                                      DEFT WAIVED HEARING ( ) DEFENDANT CONTINUED ON PRESENT BOND (                                    )
                                      DEFT HELD W/0 BOND ( ) FLIGHT RISK ( ) DANGER ( )
                                      GOVT NOT SEEKING DETENTION ( ) DEFENDANT RELEASED ON BOND ( )
                                      ELECTRONIC MONITORING (         ) 3^** PARTY CUSTODIAN ( )
                                      DEFT RELEASED ON SAME CONDITIONS AS PREVIOUSLY IMPOSED (                           )
                                      MOTION FOR CONTINUANCE ( ) GOVT( ) DEFT( )
                                      DEFT REMANDED (   )
                                      WITNESS(ES)

*Deft requests Rule 5
hearings in this District

 COURT REMINDED COUNSEL OF PROSECUTORIAL OBLIGATIONS AS REQUIRED UNDER RULE 5(F)                                         (   )

 CASE CONTINUED TO:                       guilts e, S;goPH                                  FOR   RlUul 5
 CASE SET:         MS       BEGAN: \7: S'Z.           ENDED: [:                  TIME IN COURT:
                                                                                                                noucjL^
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Case 3:25-mj-00054-MRC          Document 12        Filed 05/23/25       Page 10 of 25 PageID# 36


  MIME−Version:1.0
  From:cmecf@vaed.uscourts.gov
  To:Courtmail@localhost.localdomain
  Bcc:
  −−Case Participants: Mark Damian Duda (lindsay_paiz@fd.org, mark_duda@fd.org,
  victoria_parrish@fd.org), Ellen H. Theisen (ellen.hubbard@usdoj.gov,
  heidi.brandon@usdoj.gov, marlee.hoskin@usdoj.gov), Magistrate Judge Mark R. Colombell
  (jessica_saunders@vaed.uscourts.gov, mara_shingleton@vaed.uscourts.gov,
  mark_colombell@vaed.uscourts.gov, mary_fritz@vaed.uscourts.gov,
  mrc_chambers@vaed.uscourts.gov, sean_tenaglia@vaed.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:12547348@vaed.uscourts.gov
  Subject:Activity in Case 3:25−mj−00054−MRCVAED USA v. Argueta−Diaz Order Appointing Public
  Defender
  Content−Type: text/html

                                            U.S. District Court

                                       Eastern District of Virginia −

  Notice of Electronic Filing


  The following transaction was entered on 5/20/2025 at 8:40 AM EDT and filed on 5/19/2025

  Case Name:       USA v. Argueta−Diaz
  Case Number:     3:25−mj−00054−MRC
  Filer:
  Document Number: No document attached
  Docket Text:
  ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Luis Alonso Argueta−Diaz.
  Mark Damian Duda appointed. (jsau, )


  3:25−mj−00054−MRC−1 Notice has been electronically mailed to:

  Ellen H. Theisen &nbsp &nbsp ellen.hubbard@usdoj.gov, Heidi.brandon@usdoj.gov,
  marlee.hoskin@usdoj.gov

  Mark Damian Duda &nbsp &nbsp mark_duda@fd.org, lindsay_paiz@fd.org, victoria_parrish@fd.org

  3:25−mj−00054−MRC−1 Notice has been delivered by other means to:




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Case
 Case3:25-mj-00054-MRC
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


UNITED STATES OF AMERICA

v.                                                             Criminal Case No. 3:25MJ054

LUIS ALONSO ARGUETA-DIAZ,

          Defendant.

                              TEMPORARY DETENTION ORDER

          Upon motion of the United States Attorney, and finding that this case involves (1) an

offense described in 18 U.S.C. § 3142(f)(1)(A)-(E) or (2) a serious risk that the defendant will

flee or will, or will attempt to, obstruct justice or threaten, injure, or intimidate a prospective

witness or juror, pursuant to 18 U.S.C. § 3142(f)(2)(A)-(B), it is ORDERED that:

          1. The defendant is committed to the custody of the Attorney General of the United

States pursuant to 18 U.S.C. § 3142(i) for confinement in a corrections facility, separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal.

          2. The defendant be afforded reasonable opportunity to consult with his attorney.

          3. That the person in charge of the corrections facility deliver the defendant to the United

States Marshal, and the United States Marshal produce the defendant before this Court on

May 21, 2025, at 3:30 p.m. for an identity hearing, preliminary hearing, and detention hearing.

          4. The Clerk is directed to FILE this Order electronically and notify all counsel of record

and the United States Marshals Service, Richmond Division, accordingly.


                                                                            /s/
                                                               Mark R. Colombell
                                                               United States Magistrate Judge

Dated: May 19, 2025
Richmond, Virginia

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  MIME−Version:1.0
  From:cmecf@vaed.uscourts.gov
  To:Courtmail@localhost.localdomain
  Bcc:
  −−Case Participants: Mark Damian Duda (lindsay_paiz@fd.org, mark_duda@fd.org,
  victoria_parrish@fd.org), Ellen H. Theisen (ellen.hubbard@usdoj.gov,
  heidi.brandon@usdoj.gov, marlee.hoskin@usdoj.gov), Magistrate Judge Mark R. Colombell
  (jessica_saunders@vaed.uscourts.gov, mara_shingleton@vaed.uscourts.gov,
  mark_colombell@vaed.uscourts.gov, mary_fritz@vaed.uscourts.gov,
  mrc_chambers@vaed.uscourts.gov, sean_tenaglia@vaed.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:12550508@vaed.uscourts.gov
  Subject:Activity in Case 3:25−mj−00054−MRCVAED USA v. Argueta−Diaz Interpreter Information
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                                            U.S. District Court

                                       Eastern District of Virginia −

  Notice of Electronic Filing


  The following transaction was entered on 5/21/2025 at 11:54 AM EDT and filed on 5/21/2025

  Case Name:       USA v. Argueta−Diaz
  Case Number:     3:25−mj−00054−MRC
  Filer:
  Document Number: No document attached
  Docket Text:
   Interpreter Information: Emilia Trejo with Court Interpreting Services is the Interpreter.
  Spanish is the type of language required. Appointment is set for May 21, 2025 @ 3:30 PM for
  a Detention Hearing before Judge Colombell. (Lgar, )


  3:25−mj−00054−MRC−1 Notice has been electronically mailed to:

  Ellen H. Theisen &nbsp &nbsp ellen.hubbard@usdoj.gov, Heidi.brandon@usdoj.gov,
  marlee.hoskin@usdoj.gov

  Mark Damian Duda &nbsp &nbsp mark_duda@fd.org, lindsay_paiz@fd.org, victoria_parrish@fd.org

  3:25−mj−00054−MRC−1 Notice has been delivered by other means to:




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      CRIMINAL PROCEEDINGS             U,S. DISTRICT COURT, EASTERN DISTRICT OF VA, RICHMOND DIVISION

      JUDGE: COLOMBELL                                                      DOCKET NO.

      REPORTER:    FTR                                                      DATE: QI2II2S
            UNITED STATES OF AMERICA                                                  COUNSEL
                              V.



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           Deft appeared via VTC (     ) ZOOM (   )

      APPEARANCES:            GOVERNMENT              £LU^                                                                    (V)
                              DEFENDANT WITH COUNSEL ( V)          DEFENDANT WITHOUT COUNSEL (                      )
                              DEFENDANT NOT PRESENT (   )          WAIVER OF APPEARANCE FILED (                      )
                              INTERPRETER                                     (V)

      BAIL STATUS:            DEFENDANT ON BOND (         ) DEFENDANT ON SUPERVISED RELEASE (               )
                              DEFENDANT INCARCERATED (           BOND NOT SET (         )

      TYPE OF                 INITIAL ( ) ARRAIGNMENT (         ) REARRAIGNMENT/GUILTY PLEA (           )
      PROCEEDINGS:            PRELIMINARY (y) DETENTION ( )C) MOTIONS ( ) OTHER: 1                                             ( »
                              INITIAL ON SUPERVISED RELEASE/PROBATION VIOLATION (               )                        «J

      PRELIMINARY             WAIVER OF INDICTMENT EXECUTED, FILED (              )
      PROCEEDINGS:            CRIMINAL INFORMATION FILED (   )
                              OTHER (>f.   )    tVPV                                                                         sO
      INITIAL HEARING                   DATE OF ARREST:                  GOVT’S MOTION TO UNSEAL (              )
      PROCEEDINGS:                      GOVT SUMMARIZED CHARGES ( ) DEFT ADVISED OF RULE 5 RIGHTS (                            )
                                        FINANCIAL AFFIDAVIT ( ) COUNSEL TO BE APPOINTED ( )
                                        DEFT TO RETAIN COUNSEL ( )
                                        GOVT’S MOTION TO DETAIN DEFT (   ) ORDER OF TEMPORARY DETENTION (                              )
                                        DEFT REMANDED (     ) DETENTION HEARING SET:

      PRELIMINARY HEARING               GOVT ADDUCED EVIDENCE ( )   DEFT ADDUCED EVIDENCE (                         )
      PROCEEDINGS:                      ARGUMENTS HEARD ( ) FINDINGS STATED FROM BENCH ( )
                                        DEFT WAIVED HEARING (     ) PROBABLE CAUSE FOUND (          )
                                        MOTION FOR CONTINUANCE (        ) GOVT(       ) DEFT(   ) DEFT REMANDED (                      )
                                        WITNESS(ES)

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                                                                   loo
      DETENTION HEARING                 GOVT ADDUCED EVIDENCE (>/i )       DEFT ADDUCED EVIDENCE ( ^ )
      PROCEEDINGS:                      ARGUMENTS HEARD ( >.)    FINDINGS STATED FROM BENCH (\fi)
                                        DEFT WAIVED HEARING ( ) DEFENDANT CONTINUED ON PRESENT BOND (                                  )
  4tGov-V                               DEFT HELD W/0 BOND ( ) FLIGHT RISK ( ) DANGER ( )
                             oe         GOVT NOT SEEKING DETENTION ( ) DEFENDANT RELEASED ON BOND ( y )
                                        ELECTRONIC MONITORING (     ) 3^** PARTY CUSTODIAN ( )
                                        DEFT RELEASED ON SAME CONDITIONS AS PREVIOUSLY IMPOSED (                         )
              Qf          VloUi^        MOTION FOR CONTINUANCE ( ) GOVT( ) DEFT( )
                                        DEFT REMANDED ( )
                «.A                ^    WITNESS(ES)
p<cncUo^
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Ko/fco -
      COURT REMINDED COUNSEL OF PROSECUTORIAL OBLIGATIONS AS REQUIRED UNDER RULE 5(F)

      CASE CONTINUED TO:                                                                FOR

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A0466A{Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                     United States District Court
                                                                       for the

                                                          Eastern District of Virginia

                 United States of America                                 )
                               V.
                                                                          )        Case No.    3:25MJ054
                                                                          )
                                                                          )
           LUIS ALONSO ARGUETA-DIAZ                                                Charging District’s Case No.           2:25MJ01415
                                                                          )
                           Defendant                                      )

                                               WAIVER OF RULE 5 & 5.1 HEARINGS
                                                         (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)              District of New Mexico -
Las Cruces Division


          I have been informed of the charges and of my rights to:

          (1)       retain counsel or request the assignment of counsel if 1 am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;

          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise
                    unless I am indicted — to determine whether there is probable cause to believe that an offense has
                    been committed;

          (5)       a hearing on any motion by the government for detention;

          (6)       request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
                      an identity hearing and production of the warrant.
                                                               ^ Ov,»5 ffvT~                           .                  be h-tlcj
                      a preliminary hearing^ Vi            *3_ f ^cii                       4V\(X'V D'tftTt'na                  -Te 4-
          □           a detention hearing.          'D                                                         ^
                                                                    VVdPcA Ct>wV.
          □           an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                      be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                      by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           5/19/2025
                                                                                            Defendant's signature



                                                                                      Signature of defendant's attorney



                                                                                     Printed name of defendant's attorney

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AO 199A (Rev. ) Order Setting Conditions of Release                                                    Page 1 of   4    Pages



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  DistrictofofVirginia
                                                                               __________


                    United States of America                           )
                               v.                                      )
               LUIS ALONSO ARGUETA-DIAZ                                )        Case No. 3:25MJ054
                                                                       )
                               Defendant
                                                                       )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

     The defendant must not violate federal, state, or local law while on release.

     The defendant must cooperate in the collection of a DNA sample if it is authorized by  U.S.C. § .

     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

     The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:                                           United States Courthouse
                                                                                         Place
                                                             100 North Church Street, Las Cruces, NM 88001

      on                                                           6/4/2025 9:00 am
                                                                      Date and Time
                                                                                        $1<7,0(6$6',5(&7('%<7+(&2857
      If blank, defendant will be notified of next appearance.                        $77251(<2535(75,$/352%$7,21

(5)   The defendant must sign an Appearance Bond, if ordered.




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AO 199B (Rev. 09/24) Additional Conditions of Release                                                                                                                                 Page 2 of       4 Pages


                                                                  ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ✔ ) (6)    The defendant is placed in the custody of:
             Person or organization          Jose Abel Argueta-Diaz

             Address (only if above is an organization)         on file with Pretrial
             City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                                   Signed:
                                                                                                                                           Custodian                                                 Date
( ✔ ) (7) The defendant must:
     ( ✔ ) (a) submit to supervision by and report for supervision to the Probation and Pretrial Services Office                                 ,
               telephone number             804-916-2500          , no later than    today, prior to exiting the courthouse .
     ( ✔ ) (b) continue or actively seek employment.
     (   ) (c) continue or start an education program.
     ( ✔ ) (d) surrender any passport to:        Pretrial Services or your attorney.

     ( ✔ ) (e) not obtain a passport or other international travel document.
     ( ✔ ) (f) abide by the following restrictions on personal association, residence, or travel: No travel outside of the Commonwealth of Virginia or the District of New
                       Mexico without the permission of the Court or Pretrial Services. All travel between New Mexico and Virginia shall be by the most direct route.

       ( ✔ ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including: co-defendant, co-conspirator, informant, juror, grand juror, officer or agent of the US, local law enforcement officer, or any person defendant suspects is acting in those capacities
                       without permission of the Court. Defendant may meet with AUSA on advice of counsel. This includes the minor victim outlined in the complaint and her family.
       (     ) (h) get medical or psychiatric treatment:                              Submit to mental health evaluation and comply with any recommended treatment, if directed.


       (     ) (i) return to custody each                                       at                   o’clock after being released at                                    o’clock for employment, schooling,
                   or the following purposes:

       (   ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                 necessary.
       ( ✔ ) (k) not possess a firearm, destructive device, or other weapon. $OOILUHDUPVVKDOOEHUHPRYHGIURPWKHUHVLGHQFHEHIRUHUHOHDVH
       ( ✔ ) (l) not use alcohol ( ✔ ) at all (          ) excessively.
       ( ✔ ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                 medical practitioner. 7KLVVKDOOLQFOXGHPDULMXDQD
       ( ✔ ) (n) submit to testing for a prohibited substance, if required by the pretrial services office or supervising officer. Testing may be used with
                 random frequency and may include urine testing, wearing a sweat patch, submitting to a breathalyzer, and/or any other form of
                 prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                 accuracy of substance screening or testing of prohibited substances.
       (   ) (o) participate in a program of inpatient or outpatient substance use treatment, if directed by the pretrial services office or supervising
                 officer.
       ( ✔ ) (p) participate in the remote alcohol testing program using continuous electronic alcohol testing and comply with its requirements as
                 directed, including not consuming alcohol. 7KLVVKDOOEHDWWKHGLUHFWLRQRI3UHWULDO6HUYLFHV
                 (    ) pay all or part of the cost of remote alcohol testing, including equipment loss or damage, based upon your ability to pay, as
                        determined by the pretrial services or supervising officer.
       ( ✔ ) (q) participate in the location monitoring program and comply with the requirements, as directed in subsections i, ii, and iii.
                        i. Following the location restriction component (check one):
                       (   ) (1) Curfew. You are restricted to your residence every day (          ) from                   to                 , or (   ) as
                                   directed by the pretrial services office or supervising officer; or
                       ( ✔      ) (2) Home Detention. You are restricted to your residence at all times except for employment;
                                   medical, substance DEXVH, or mental health treatment; attorney visits; court appearances; court-ordered obligations; activities
                                      approved by the court; or essential activities approved in advance by the pretrial services office or supervising officer; or
                       (     ) (3) Home Incarceration. You are restricted to 24-hour-a-day lockdown at your residence except for medical necessities and
                                  court appearances or activities specifically approved by the court; or
                       (     ) (4) Stand-Alone Monitoring. You have no residential component (curfew, home detention, or home incarceration) restrictions.
                                  However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand-alone monitoring
                                  should be used in conjunction with global positioning system (GPS) or virtual mobile application technology.


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AO 199B (Rev. 09/24) Additional Conditions of Release                                                                                                                                            Page 3 of    4 Pages


                                                                      ADDITIONAL CONDITIONS OF RELEASE

                 (ii) submit to the following location monitoring technology (check one):
                      ( ✔ ) (1) Location monitoring technology as directed by the pretrial services or supervising officer; or
                      (   ) (2) GPS; or
                      (   ) (3) Radio Frequency; or
                      (   ) (4) Voice Recognition; or
                      (   ) (5) Virtual Mobile Application. You must allow the pretrial services or supervising officer to conduct initial and periodic
                                  inspections of the mobile device and mobile application to verify that 1) the monitoring software is functional, 2) the
                                  required configurations (e.g., locational services) are unaltered, and 3) no efforts have been made to alter the mobile
                                  application.
               (iii) ( ✔ ) pay all or part of the cost of location monitoring, including equipment loss or damage, based upon your ability to pay, as
                            determined by the pretrial services or supervising officer
       ( ✔ ) (r) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                 questioning, or traffic stops.
       ( ✔ ) (s) maintain contact with your attorney. If you are found guilty or plead guilty you must report to a probation officer for the purpose of preparation of a presentence report. In the event that you are found
                       guilty or plead guilty, you must be prepared to go immediately to jail if the law so requires or if the court determines in light of your conviction that detention is appropriate.


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AO 199C (Rev. 09/08) Advice of Penalties                                                                       Page   4       of   4    Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant’s Signature



                                                                                              City and State



                                               Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.
( ✔ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.


Date:                                                                                              /s/
                                                                                       Judicial Officer’s Signature

                                                                          Mark R. Colombell U.S. Magistrate Judge
                                                                                          Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY         U.S. MARSHAL




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


UNITED STATES OF AMERICA,
v.                                                             Criminal Case No. 3:25MJ054

LUIS ALONSO ARGUETA-DIAZ,

                Defendant.

                                               ORDER

        This matter is before the Court for an identity hearing, preliminary hearing, and detention

 hearing relating to a Criminal Complaint filed in the District of New Mexico alleging a violation

 of Title 8 U.S.C. 1324(a)(1)(A)(v)(I), (a)(1)(A)(ii); Conspiracy to Transport an Illegal Alien.

        During the hearing on May 21, 2025, Defendant agreed to waive his right to an identity

 hearing and production of the warrant. Further, Defendant waived his right to a Preliminary

 hearing in this district and requested a Preliminary hearing in the charging district. The Court

 proceeded with a detention hearing, and heard evidence and argument from counsel.

        For the reasons stated on the record and pursuant to 18 U.S.C. § 3142, the Court found that

 there were conditions or a combination of conditions that could be imposed to ensure Defendant’s

 appearance and the safety of the community, and conditions of release were imposed. Following

 this finding, the Government moved to stay the Court’s order of release and the Order

 Setting Conditions of Release (ECF No. 8.) pending an appeal to a district judge in the

 District of New Mexico. The Court GRANTED the government’s oral motion. The Order

 Setting Conditions of Release (ECF No. 8) is hereby STAYED for a period of forty-eight

 (48) hours to allow the government to file an appeal of this Court’s decision in the District of

 New Mexico. Defendant shall remain in custody of the United States Marshals pending the

 determination of the appeal, if filed, by the District of New Mexico. If no appeal


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is filed within the forty-eight hours, Defendant shall be released on the conditions outlined in

Order Setting Conditions of Release (ECF No. 8.)

       IT IS SO ORDERED.

       The Clerk is directed to send a copy of this Order to the United States Marshal Service, the

Pretrial Services Office, and all counsel of record.




Date: May 22, 2025                                         /s/ _________
Richmond, Virginia                            Mark R. Colombell
                                              United States Magistrate Judge




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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


UNITED STATES OF AMERICA

v.                                                            Criminal Case No. 3:25MJ054

LUIS ALONSO ARGUETA-DIAZ,
      Defendant.
                                                  ORDER

         This matter comes before the Court on its own initiative. In accord with the Due Process

Protections Act and Rule 5(f) of the Federal Rules of Criminal Procedure, this Court CONFIRMS the

United States’ obligation to disclose to the defendant all exculpatory evidence, that is, evidence that

favors the defendant or casts doubt on the United States’ case, as required by Brady v. Maryland, 373

U.S. 83 (1963) and its progeny, and hereby ORDERS the United States to do so. Failure to disclose

exculpatory evidence in a timely manner may result in serious consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,

disciplinary action, or sanctions by the Court.

         The judge presiding over the first scheduled court date when both prosecutor and defense counsel

are present shall give oral notice of the provisions in this Order. The presiding judge, pursuant to the

Due Process Protections Act, shall also enter a written order in compliance with this Order.

         Having given counsel the oral admonition required by the Due Process Protections Act, this

Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule 5(f) and the

Eastern District of Virginia Standing Order concerning the same.

         It is SO ORDERED.


                                                                           /s/
                                                             Mark R. Colombell
                                                             United States Magistrate Judge
Date: May 22, 2025
Richmond, Virginia


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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )     No. 25-MJ-1415
       vs.                                          )
                                                    )
LUIS ALONSO ARGUETA-DIAZ,                           )
                                                    )
               Defendant.                           )

              UNITED STATES’ MOTION TO REVOKE RELEASE ORDER

       Pursuant to 18 U.S.C. § 3145(a)(1), the United States respectfully requests the Court to

revoke Eastern District of Virginia United States Magistrate Judge Colombell’s May 21, 2025,

order setting conditions of release in this case.

       I. Background

       On May 8, 2025, Defendant was charged with Conspiracy to Transport an Illegal Alien,

and on May 19, 2025, he was arrested in the Eastern District of Virginia.

       On May 21, 2025, Defendant appeared for his detention hearing in the Eastern District of

Virginia, and the judge ordered Defendant released on conditions, but stayed execution of his

order for 48 hours, pending the filing of this motion.1

       II. Facts of the Case

       The facts of the case are that the 35-year-old Defendant conspired to smuggle a 17-year-

old pregnant Honduran citizen to the United States to help care for his children. When agents



1
 Judge Colombell’s chambers advised that once this motion is filed, Defendant will remain in
custody pending a hearing by a district judge in New Mexico.




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encountered the pregnant minor, near Santa Teresa, New Mexico, on May 3, 2025, the minor

stated that she was on her way to Virginia to live with Defendant who she said was her boyfriend

of approximately one year. When agents interviewed Defendant, he stated that he did arrange for

the minor’s trip from Honduras to the United States, and paid $2,000 so far to have her smuggled

to Virginia to live with him, and help him care for his children.

       Defendant is a Legal Permanent Resident of the United States, and if convicted of the

charged offense, Defendant is very likely going to be deported to his home county, Honduras.

       In determining whether there are conditions of release that can be fashioned to reasonably

assure the appearance of a defendant and the safety of the community, the Court must consider:

       a. The nature and circumstances of the offense;
       b. The weight of the evidence against the defendant;
       c. The defendant’s ties to the community, financial resources, and criminal history;
       and
       d. Whether the defendant is on parole, probation, or other release pending criminal
       charges in another case (federal, state, or local).

18 U.S.C. § 3142(g)(1)-(4). “The government must prove risk of flight risk by a

preponderance of the evidence, and it must prove dangerousness to any other person and

the community by clear and convincing evidence.” United States v. Cisneros, 328 F.3d

610, 616 (10th Cir. 2003); 18 U.S.C. § 3142(f). Here, the nature and circumstance of the

offense, weight of the evidence, and Defendant’s status in the United States all warrant

detention of Defendant as both a flight risk and a danger to the community.

       As to the nature and circumstances of the offense, Defendant, a 35-year-old male,

conspired to transport a pregnant minor from Honduras to the United States, putting the

minor at great risk. More disturbing, however, is the fact that the minor told agents that

Defendant was her boyfriend, and that he was paying for her to be smuggled to his home




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in Virginia, which could give rise to additional federal charges. See 18 U.S.C. § 2423(a)

(Transportation of minors).

       As to the strength of the case, the case is strong. Defendant confessed to knowingly

transporting the minor from Honduras, to multiple agents on two separate occasions, in

two different jurisdictions. Defendant first confessed to a New Mexico HSI agent on or

about May 4, 2025, during a telephonic interview. During that interview, Defendant told

the agent that he knew the minor was en route to Virginia to live with him, that he wanted

to help the minor be in a safe place, and that he wanted the minor to help him take care of

his three children. He further stated that he paid $2,000 for the purpose of smuggling the

minor to Virginia.

       Defendant confessed a second time on May 5, 2025, to HSI agents in Richmond,

Virginia during an in-person interview. During that interview, Defendant explained that he

sent $2,000 to his mother so that she could give the money to the minor’s mother to assist

with the smuggling fee, and that the minor would live with him, and help care for his

children.

       Additionally, the minor told agents that Defendant paid to have her smuggled from

Honduras to Virginia to live with him.

       Given the nature and circumstances of the offense, the strength of the case, and the

fact that Defendant is very likely going to be deported when this case is over, Defendant

has no incentive to abide by conditions of release, and there are no conditions or

combination of conditions that will reasonably assure his appearance at any future court

proceedings. Additionally, Defendant’s efforts to transport a pregnant minor from

Honduras to Virginia, and Defendant’s alleged relationship with the pregnant minor



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demonstrate that he is a danger to the community, and that no condition or combination of

conditions will reasonably assure the safety of any person or the community.

       WHEREFORE, for the foregoing reasons, the United States respectfully requests the

Court to revoke Judge Colombell’s May 21, 2025, order setting conditions of release, and to detain

Defendant pending resolution of this case, as both a flight risk and danger to the community.

                                                            Respectfully submitted,

                                                            RYAN ELLISON
                                                            United States Attorney

                                                            Filed Electronically May 22, 2025
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I HEREBY CERTIFY that I electronically
filed the foregoing with the Clerk of the
Court using the CM/ECF system which
will send electronic notification to defense
counsel of record.

Electronically Filed May 22, 2025
MARK A. SALTMAN
Assistant U.S. Attorney




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